          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:03CR76-5


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                  VS.                      )             ORDER
                                           )
                                           )
DEMETRIO JAIMES                            )
                                           )


      THIS MATTER is before the Court on the Defendant’s motion for

early termination of his supervised release. The Government has no

objections to the relief sought.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion for

early termination of his supervised release is ALLOWED, and effective with

entry of this Order, the Defendant’s term of supervised release is hereby

terminated.

                                        Signed: December 7, 2006




   Case 1:03-cr-00076-MR-DLH       Document 238    Filed 12/07/06   Page 1 of 1
